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                                UNITED STATES DISTRICT COURT
                                SO UTH EM D ISTRICT OF FLORIDA

                                CA SE N O.22-20104-CR-M A RT1N EZ

  UNITED STATES OF AM ERICA

         Plaintiff,
  VS.

  M A RIO AN TON IO PA LA CIOS PA LA CIO S,

         Defendant.


        O R D ER G M N TIN G JO IN T M OT IO N T O C ON TINU E C AL EN D A R CA LL

         THIS CAUSE cam ebeforetheCourtupon theUnited StatesofAmerica and Defendant,

  M arioAntonioPalaciosPalacios'JointM otiontoContinueCalendarCall(DE:211.TheCourt
  havingreviewed theissuesathand and beingotherwisefully advised inthepremises

         Aftercaref'
                   ulconsideration,theCourtfindsthattheendsofjusticewillbeservedbya
  continuance ofthetrialasto theDefendant'sassetforth below,and thatan extension outweighs

  the interestofthe public and the D efendants in a speedy trial. Therefore,itis

         O R D ER ED AN D AD JU D GE D thata continuance is G M N TED .

         Thepreviouscalendarcalland trialdateareCANCELLED .Trialin thiscauseisreset

  during thetwo-week trialperiod starting on M ondav.Julv 18.2022 at9:30 a.m .,attheUnited
  StatesCourthouse,Courtroom 10-1,400North M iam iAvenue,M iami,Florida.CalendarCall

  w illbe heldon Thursdav.June 14.2022 at1:30 p.m .atthesame location.A1lcounselm ustbe

  presentatthe calendar call.

         TheCourtfindsthattheperiod ofdelay from April19,2022 to July 18,2022,and any

  othertrialdatesethereafterisexcludable in calculating theperiod within which trialmust

  commenceinaccordancewiththeprovisionsoftheSpeedy TrialAct,18U.S.C.j161(h)(7)(A).
  Partiesshallfiletheirjointproposedjmy instructionsaswellqsverdictformsandproposedvoir
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  direquestionsifany,oneweek priorto calendarcall.Fora11otherpretrialdeadlines,theparties

  shallrefertotheCourt'sschedulingordersIDE:20)forapplicabledeadlines.
        Therewillbenom ore continuancesgranted in thismatlerabsentexigentcircum stances.
                    '

        DONE AND ORDERED in ChambersatM iam i, Florida,this 19thday ofApril,2022.


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                                             ITED STATZS DISTRIC         DGE

  cc:A11CounselofRecord
     U.S,Probation Offce
